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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


KAREN SAUNDERS,

           Plaintiff,                    Case No. 1:17−cv−00335−GJQ−RSK

    v.                                   Hon. Gordon J. Quist

DYCK−O'NEAL, INC.,

           Defendant.
                                    /



                                    ORDER
      The Court DENIES plaintiff's unopposed motion to file reply brief (ECF
No. 75).

         IT IS SO ORDERED.


Dated: December 11, 2018                          /s/ Ray Kent
                                                 RAY KENT
                                                 U.S. Magistrate Judge
